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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IN RE: TAASERA LICENSING LLC,                      §
PATENT LITIGATION                                  §
                                                   §   CIVIL ACTION NO. 2:22-MD-03042-JRG
THIS DOCUMENT RELATES TO ALL                       §
CASES                                              §



                                             ORDER

       The Court issues this Order sua sponte. Pending before the Court are Trend Micro

Incorporated’s (“Trend Micro”) Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) (Case No.

2:21-cv-441, Dkt. No. 21); Trend Micro’s Motion to Dismiss Taasera Licensing LLC’s

(“Taasera”) Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6) (Case No. 2:21-cv-441, Dkt.

No. 39); Trend Micro’s Motion to Transfer Pursuant to 28 U.S.C. § 1404(a) for Trial (Case No.

2:21-cv-441, Dkt. No. 45); Defendant Check Point Software Technologies Ltd.’s (“Check Point”)

Motion for Partial Dismissal of Plaintiff’s Complaint (Case No. 2:22-cv-63, Dkt. No. 13); Check

Point’s Motion to Transfer Venue to the Northern District of California (Case No. 2:22-cv-63, Dkt.

No. 23), Check Point’s Motion for Partial Dismissal of Plaintiff’s First Amended Complaint (Case

No. 2:22-cv-63, Dkt. No. 26); and Taasera’s Motion to Dismiss Complaint for Declaratory

Judgment for Lack of Subject Matter Jurisdiction, or in the Alternative, to Transfer or Stay Under

the First-to-File Rule, and to Dismiss for Failure to State a Claim (Case No. 2:22-cv-303, Dkt. No.

14) (collectively, the “Dispositive Motions”).

       On October 11, 2022, the Court held a scheduling conference in the above-captioned

action. Defendants in all consolidated cases for multidistrict litigation (“MDL”) have not yet filed

a responsive pleading. Accordingly, it is ORDERED that the deadline for each Defendant to file
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its responsive pleading under Federal Rule of Civil Procedure 12 is due within 14 days of the entry

of this Order. The Court DEFERS any decision on each Dispositive Motion until such responsive

pleading in each case consolidated for MDL is filed.


       So Ordered this
       Oct 14, 2022




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